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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


  PROLITEC INC.,                                    §
                                                    §
  Plaintiff,                                        §
                                                    §
          v.                                        §
                                                               Civil Action No. 20-984-WCB
                                                    §
  SCENTAIR TECHNOLOGIES, LLC.,                      §
                                                    §
  Defendant.                                        §
                                                    §



                                 REVISED SCHEDULING ORDER

          On May 8, 2024, the court lifted the stay on the counterclaim proceedings in this case. Dkt.

  No. 330. That order stated that:

          [T]he parties will have an opportunity to file reply expert reports within 21 days of the date
          of the latter of the court’s orders on the motion for judgment on the pleadings and the
          motion for supplemental claim construction. Those reports may take account of the court’s
          order on the motion for supplemental claim construction.

  The latter of those two orders, the supplemental claim construction order, was filed on July 23,

  2024. Expert reports are therefore due by 5:00 p.m. Eastern Time on Tuesday, August 13, 2024.

  The previous scheduling order also stated that deadlines would be set “for the completion of expert

  discovery, dispositive motions, the pretrial conference, and the trial, if necessary.” Id. Those

  deadlines are as follows:

      1. Expert discovery: Depositions of experts and expert discovery shall be completed on or

          before Tuesday, September 24, 2024.

      2. Dispositive Motions: All case dispositive motions shall be served and filed on or before

          Tuesday, October 22, 2024. No case dispositive motion under Rule 56 may be filed more



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        than ten days before the above date without leave of the court. Absent an order of the court

        upon a showing of good cause, each side is limited to one twenty-five-page opening brief,

        one twenty-five-page answering brief, and one ten-page reply brief for all its Daubert and

        case dispositive motions.

     3. Pretrial Conference: On March 24, 2025, the Court will hold a Rule 16(e) final pretrial

        conference in via Zoom with counsel beginning at 2:00 p.m. The parties shall file a joint

        proposed final pretrial order in compliance with Local Rule 16.3(c) no later than 5:00 p.m.

        on the fourth business day before the date of the final pretrial conference. Unless otherwise

        ordered by the court, the parties shall comply with the timeframe set forth in Local Rule

        16.3(d) for the preparation of the proposed joint final pretrial order.

     4. Trial: This case is scheduled for a 5 day jury trial beginning at 9:00 a.m. on April 21, 2025,

        with each subsequent trial day beginning at 9:00 a.m. The trial will be timed, with each

        party being given no more than 11 hours to present its case (including openings and

        closings).



        IT IS SO ORDERED.

        SIGNED this 24th day of July, 2024.




                                               ______________________________
                                               WILLIAM C. BRYSON
                                               UNITED STATES CIRCUIT JUDGE




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